          Case No. 1:18-cv-00440-WJM-KLM              Document 8-3        filed 02/26/18      USDC Colorado
                                                       pg 1 of 1

                                                                                                           Appendix M
                                         UNITED STATES DISTRICT COURT
                                         FOR THE DISTRICT OF COLORADO

 Civil Action No. __________________________

                         Plaintiff(s),

          v.

                         Defendant(s).


               NOTICE OF AVAILABILITY OF A UNITED STATES MAGISTRATE JUDGE
                                TO EXERCISE JURISDICTION


         In accordance with the provisions of 28 U.S.C. § 636(c), Fed. R. Civ. P. 73, and D.C.COLO.LCivR 72.2,
 you are hereby notified that a United States magistrate judge of this district court is available to handle all
 dispositive matters in this civil action, including a jury or nonjury trial, and to order the entry of a final judgment.
 Exercise of this jurisdiction by a magistrate judge, however, is permitted only if all parties voluntarily consent
 and the district judge orders the reference to a magistrate judge under 28 U.S.C. § 636(c).

          You may, without adverse substantive consequences, withhold your consent, but this will prevent the
 court's jurisdiction from being exercised by a magistrate judge. If any party withholds consent, the identity of
 the parties consenting or withholding consent will not be communicated to any magistrate judge or to the
 district judge to whom the case has been assigned.

        Pursuant to D.C.COLO.LCivR 72.2, no district judge or magistrate judge, court official, or court
 employee may attempt to influence the granting or withholding of consent to the reference of any civil matter to
 a magistrate judge under this rule.

        An appeal from a judgment entered by a magistrate judge shall be taken directly to the appropriate
 United States Court of Appeals in the same manner as an appeal from any other judgment of a district court.

        If this civil action has been referred to a magistrate judge to handle certain nondispositive matters, that
 reference shall remain in effect. Upon entry of an order of reference pursuant to 28 U.S.C. § 636(c), the civil
 action will be assigned to the magistrate judge then assigned to the case.

         CONSENT TO THE EXERCISE OF JURISDICTION BY A UNITED STATES MAGISTRATE JUDGE

          In accordance with the provisions of 28 U.S.C. § 636(c), Fed. R. Civ. P. 73, and D.C.COLO.LCivR 72.2, the
 parties in this civil action hereby voluntarily consent to have a United States magistrate judge conduct any and all
 further proceedings in the case, including the trial, and order the entry of a final judgment.

                  Signatures                               Party Represented                              Date

 Print

 Print

 Print


(Rev. 12/01/11)
